                                       Schedule 1



                      Success Entity                                     Cure Cost
  Title of Document                      Counterparty       Effective
                          Name                                             (as of
                                                              Date
                                                                         12/07/18)


                                         Department of
                         Success
                                       Health & Human
                       Healthcare 1,
  Medicare Provider                    Services - Centers
                      LLC dba Silver                        11/25/2008   $4,451,458
    Agreement                           for Medicare &
                       Lake Medical
                                           Medicaid
                          Center
                                            Services


                                       California Health
                         Success
                                          and Human
                       Healthcare 1,
  Medi-Cal Provider                    Services Agency -
                      LLC dba Silver                         11/2008        $0
    Agreement                           Department of
                       Lake Medical
                                          Health Care
                          Center
                                           Services




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